 Case 14-09765       Doc 143    Filed 06/15/16 Entered 06/16/16 06:48:32                Desc Main
                                 Document       Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                       )               BK No.:      14-09765
Joan E Anzalone                              )
                                             )               Chapter: 7
                                             )
                                                             Honorable Timothy Barnes
                                             )
                                             )
               Debtor(s)                     )

                ORDER ALLOWING WITHDRAWAL OF DEBTOR'S COUNSEL

       THIS CAUSE COMING ON TO BE HEARD on the motion of the law offices of Cutler &
Associates, to withdraw as Debtor(s)'s counsel; the Court being advised in the premises; due notice
having been given;

IT IS HEREBY ORDERED:

  That the law offices of Cutler & Associates' appearance as Debtor(s)'s counsel is hereby withdrawn.




                                                         Enter:


                                                                  Honorable Timothy A. Barnes
Dated: June 15, 2016                                              United States Bankruptcy Judge

 Prepared by:
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